     Case 15-15722-abl      Doc 822      Entered 12/28/16 14:45:07    Page 1 of 2




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 8
                            UNITED STATES BANKRUPTCY COURT
 9                                 DISTRICT OF NEVADA
10   In re:                                         Case No. BK-15-15722-abl
11                                                  Chapter 11
              CAPRIATI CONSTRUCTION
12            CORP., INC.
                                                    NOTICE OF: (1) EFFECTIVE DATE OF
                                                    DEBTOR’S      THIRD     AMENDED
13                                 Debtor.          CHAPTER       11     PLAN     OF
14                                                  REORGANIZATION [DKT. NO. 485];
                                                    AND (2) DEADLING FOR FILING
15                                                  REQUESTS    FOR    PAYMENT    OF
                                                    ADMINISTRATIVE CLAIMS
16
17
18
19            NOTICE IS HEREBY GIVEN that, as of December 28, 2016, all conditions

20   precedent to the effectiveness of Debtor’s Third Amended Chapter 11 Plan of Reorganization

21   [Dkt. No.: 485], as modified by the Debtor’s Second Amended Plan of Reorganization [Dkt.
22
     No.: 386] (the “Plan”), and as confirmed by the Third Amended Chapter 11 Plan of
23
     Reorganization Confirmed Order (Dated December 5, 2016) [Dkt. No.: 813] (“Confirmation
24
     Order”) entered by the United States Bankruptcy court for the District of Nevada (the
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                                                 -1-
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     Case 15-15722-abl               Doc 822        Entered 12/28/16 14:45:07              Page 2 of 2




 1   “Bankruptcy Court”) on December 5, 2016, have been satisfied or waived and the Effective

 2   Date1 of the Plan shall be December 28, 2016 for all purposes.
 3
                NOTICE IS FURTHER HEREBY GIVEN that the Confirmation Order and the
 4
     Plan contain other provisions that may affect your rights. You are encouraged to review the
 5
     Confirmation Order and the Plan in their entirety and consult with your own legal advisors.
 6
 7
 8              DATED this 28th day of December, 2016.
 9
                                                                       KUNG & BROWN
10
11                                                                     By:    /s/ Brandy Brown
                                                                       A.J. Kung, Esq.
12
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         All capitalized terms not defined herein shall have the meanings ascribed to them in the Plan.

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